          USCA Case #22-5069       Document #1991408
                               UNITED STATES COURT OF Filed: 03/23/2023
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                                DISTRICT OF COLUMBIA CIRCUIT
                                             333 Constitution Avenue, NW
                                              Washington, DC 20001-2866
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 Case Caption: James Blassingame et al. (Appellees)

                                     v.                                   Case No: 22-5069, 22-7030, 22-7031
                    Donald J. Trump (Appellant)


                                            ENTRY OF APPEARANCE

The Clerk shall enter my appearance as          Retained      Pro Bono       Appointed (CJA/FPD)           Gov't counsel
for the     Appellant(s)/Petitioner(s)      Appellee(s)/Respondent(s)        Intervenor(s)      Amicus Curiae below:

                                                 Party Information
                 (List each represented party individually - Use an additional blank sheet as necessary)

 Hon. Barbara J. Lee




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Notes: This form must be submitted by a member of the Bar of the U.S. Court of Appeals for the D.C. Circuit.
Names of non-member attorneys listed above will not be entered on the court's docket. Applications for
admission are available on the court's web site at http://www.cadc.uscourts.gov/.

USCA Form 44
March 2017 (REVISED)
